Case 2:24-cr-00621-MWF     Document 89     Filed 11/22/24   Page 1 of 4 Page ID #:386



 1                                                                      FILED
                                                                          DISTRICT COURT
 2                                                            CLERK, U.S.


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 4                                                                                    CALIFORNIA
                                                                                 OF
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                                                              CENTRAL DISTRICT           DEPUTY
                                                              BY
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 7
 s                   UNITED STATES DISTRICT COURT
9                   CENTRAL DISTRICT OF CALIFORNIA
10
11   iJNITED STATES OF AMERICA,                        Case No.: CR :~~-I' —(~(~Z~,/~/~ ~ ~}.
12                                   Plaintiff,        ORDER OF DETENTION
13   v.
14
     K ~+~-~ J~ v~-s
is                                   Defendant.
16
17                                                I.
18   A.   (✓~    On motion of the Government in a case allegedly involving:
19        1.    O        a crime of violence.
20        2.    (~ an offense with a maximum sentence of life imprisonment or death.
21        3.    ()       anarcotics orcontrolled-substance offense with a maximum sentence
22                       of 10 or more years.
23        4.    () any felony if defendant has been convicted of two or more prior
24                       offenses described above.
25        5.    (.~ any felony not otherwise a crime of violence that involves a minor
26                       victim, possession or use of a firearm or destructive device or any
27                       other dangerous weapon,or failure to register under 18 U.S.C.§ 2250.
28
Case 2:24-cr-00621-MWF        Document 89   Filed 11/22/24    Page 2 of 4 Page ID #:387



 1   B.   (~ On motion by the Government/( )on Court's own motion, in a case
2               allegedly involving:
3         (~ On the fu her allegation by the Government o£
4                1.   (         a serious risk that the defendant will flee.
5               2.    ()        a serious risk that the defendant will:
6                        a.     ()    obstruct or attempt to obstruct justice.
 7                       b.     () threaten, injure or intimidate a prospective witness or
 8                    juror, or attempt to do so.
9    C.   The Government (~is/( )is not entitled to a rebuttable presumption that no
10        condition or combination of conditions will reasonably assure the defendant's
11        appearance as required and the safety or any person or the community.
12
13                                               II.
14   A.   (~ The Court finds that no condition or combination of conditions will
15              reasonably assure:
16         1.   (J~ the appearance ofthe defendant as required.
17                    (✓~        and/or
18        2.    (,~ the safety of any person or the community.
19   B.   (v~ The Court finds that the defendant has not rebutted by sufficient evidence to
20              the contrary the presumption provided by statute.
21
22                                               III.
23        The Court has considered:
24   A.   (X)   the nature and circumstances of the offenses) charged, including whether
25              the offense is a crime of violence, a Federal crime ofterrorism, or involves
26              a minor victim or a controlled substance, firearm, explosive, or destructive
27               device;
28   B.   (X)   the weight ofthe evidence against defendant;

                                            Page 2 of4
Case 2:24-cr-00621-MWF    Document 89   Filed 11/22/24   Page 3 of 4 Page ID #:388



 1   C.   (X) the history and characteristics of the defendant; and
2    D.   (X) the nature and seriousness ofthe danger to any person or the community.
 3
4                                           IV.
5         The Court also has considered all the evidence adduced at the hearing, the
6    arguments and/or statements of counsel, and the Pretrial Services Report and
7    recommendation.
8
9                                            1•~
10        The Court bases the foregoing findings) on the following:
11   A.   (✓~ Flight risk:
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13        Co l)✓1         h ~3~      a~ 6o rrd for~er"f~~s
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21   B.   (Jj   Danger:
22        a I ~e a~ZM S o~ ~2idr~.t-►~ewt iv~~lu~G,                   ~ioof~   a~f-
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24         ~b ~' ~~vha              vro(a~h~is , on p rv~c~-i~ ~u~~rf
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                                         Page 3 of 4
 Case 2:24-cr-00621-MWF     Document 89     Filed 11/22/24   Page 4 of 4 Page ID #:389



  1                                              VI.
  2#   A.   () The Court finds a serious risk that defendant will:
'
~ 3                1.   ()      obstruct or attempt to obstruct justice.
 4                 2.   ()      attempt to/( )threaten, injure or intimidate a witness or juror.
  5    B.    The Court bases the foregoing findings) on the following:
 6
  7
  8
 9
 10                                             VII.
 11    A.   IT IS THEREFORE ORDERED that the defendant be detained before trial.
 12    B.   IT IS FURTHER ORDERED that the defendant be committed to the custody ofthe
 13          Attorney General for confinement in a corrections facility separate, to the extent
 14          practicable, from persons awaiting or serving sentences or being held in custody
 15          pending appeal.
 16    C.   IT IS FURTHER ORDERED thatthe defendant be afforded reasonable opportunity
 17         for private consultation with counsel.
 18    D.   IT IS FURTHER ORDERED that on order of a Court of the United States or on
 19          request ofany attorney for the Government,the person in charge ofthe corrections
 20         facility in which defendant is confined deliver the defendant to a U.S. marshal for
 21          the purpose of an appearance in connection with a court proceeding.
 22
 23
 24    DATED:      ~ ~ 2Z 2
                                             JEAN ROSENBLUTH
 25                                          U.S. MAGISTRATE JUDGE
 26
 27
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                                            Page 4 of4
